

People v Taylor (2019 NY Slip Op 04629)





People v Taylor


2019 NY Slip Op 04629


Decided on June 7, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 7, 2019

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, CURRAN, AND TROUTMAN, JJ. (Filed June 7, 2019.) 


MOTION NO. (1058/17) KA 15-00214.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vDANTE TAYLOR, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for reargument dismissed as untimely, and the motion for writ of error coram nobis denied.








